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                    UNITED STATES DISTRICT COURT
                    EASTERN DISTRICT OF MICHIGAN
                         SOUTHERN DIVISION

 JOHN DOE, an individual,

       Plaintiff,

 vs.                                             Case No. 16-cv-13174
                                                 Hon. David M. Lawson
 DAVID H. BAUM, et al,                           Mag. Stephanie Dawkins Davis

      Defendants.
 _____________________________________________________________

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Case 2:16-cv-13174-DML-SDD ECF No. 135 filed 03/26/19        PageID.4559   Page 2 of 35



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     _______________________________________________________________

          PLAINTIFF’S MOTION FOR AWARD OF INTERIM
     ATTORNEY FEES AND COSTS AS TO HIS DUE PROCESS CLAIM

       NOW COMES Plaintiff, by and through his attorneys Deborah Gordon Law,

 and files his Motion for Imposition of Interim Remedy as to Due Process Claim

 only for the following reasons:

       1.     On January 1, 2017, this court granted Defendants’ Motion to Dismiss

 and denied Plaintiff’s Motion for Preliminary Injunction and Motion for

 Evidentiary Hearing [Dkt. 74] and entered Judgement in favor of Defendants.

 [Dkt. 75] On September 29, 2017 this court issued its Opinion and Order denying

 Plaintiff’s Motion to Reopen Case. [Dkt. 95].

       2.     On September 7, 2018, the United States Court of Appeals issued its

 Opinion claims and remanding for further proceedings. Case No. 17-2213, John

 Doe v. David Baum, et al, originating Case No: 16-cv-13174, (6th Cir. 2016) [Dkt.

 45-2]. The Court held, in pertinent part, that Defendants violated his constitutional

 right to due process, finding:




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       “if a public university has to choose between competing narratives to resolve
       a case, the university must give the accused student or his agent an
       opportunity to cross-examine the accuser and adverse witnesses in the
       presence of a neutral fact-finder. Because the University of Michigan
       failed to comply with this rule, we reverse.” Doe v. Baum, 903 F.3d 575,
       578 (6th Cir. 2018) (emphasis added).

       3.     In any action to enforce a provision of 42 USC § 1983, § 1988 of that

 title permits the court to allow the prevailing party reasonable attorney fees if he

 succeeds on any significant issue in litigation which achieves some of the benefit

 he sought in bringing the lawsuit. Hensley v. Eckhart, 461 U.S. 424, 433 (1983)

 (quoting Nadeau v. Helgemoe, 581 F.2d 275, 278-79 (1st Cir. 1978)).

       4.     The Supreme Court has held that a prevailing party should be awarded

 reasonable attorney fees “unless special circumstances would render such an award

 unjust.” Id. at 429 (internal citations omitted).

       5.     Accordingly, 42 USC § 1988(b) permits a court to award interim

 attorney fees to a prevailing party, even where a final decision in the case has yet

 to be rendered.

       6.     An award of interim attorneys' fees is appropriate even during the

 pendency of litigation where: “the court has entered a concrete order that

 ‘determines substantial rights of the parties,’ meaning ‘when a party has prevailed

 on the merits of at least some of his claims.’” Webster v. Sowders, 846 F.2d 1032,

 1036 (6th Cir. 1988) (citing Hanrahan v. Hampton, 446 U.S. 754, 757-58 (1980)


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 (per curiam) (quoting Bradley v. Richmond Sch. Bd., 416 U.S. 696, 723 n.28,

 (1974))).

       7.        Based on the ruling of the court of appeals in Baum, Plaintiff

 undisputedly prevailed on the merits of his due process claim.

       8.        The Sixth Circuit’s ruling that due process required Defendants to

 allow for some form of live questioning in front of the fact-finder (Baum, 903 F.3d

 at 583) both determined Plaintiff’s substantial rights and changed the parties’ legal

 relationship.

       9.        Moreover, the complexity and duration of Plaintiff’s case also favor

 an award of interim fees.

       10.       Plaintiff is accordingly entitled to an award of interim attorney fees

 and costs.

       WHEREFORE, Plaintiff requests that this Honorable Court enter an Order

 holding that Plaintiff is a prevailing party for the purposes of obtaining an interim

 fee award, and accordingly that Plaintiff is entitled to a fully compensatory award

 of interim attorney fees and costs including:

       A. Attorney fees (Deborah Gordon Law) in the amount of $326,824.50.
          Ex. B.

       B. Costs (Deborah Gordon Law) in the amount of $9,986.23. Ex. C.

       C. An attorney fee enhancement of at least 10% due to the nature of this
          case and the relief Plaintiff has obtained.


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       Plaintiff further requests oral argument regarding the relief requested in the

 instant Motion and brief. Respectfully submitted,


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                                /s/Deborah L. Gordon (P27058)
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                                Bloomfield Hills, Michigan 48304
 Dated: March 26, 2019          (248) 258-2500




                                          5
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                     UNITED STATES DISTRICT COURT
                     EASTERN DISTRICT OF MICHIGAN
                          SOUTHERN DIVISION

 JOHN DOE,

       Plaintiff,

 vs.                                            Case No. 16-cv-13174
                                                Hon. David M. Lawson
 DAVID H. BAUM, et al.,                         Mag. Stephanie Dawkins Davis

       Defendants.


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   PLAINTIFF’S BRIEF IN SUPPORT OF HIS MOTION FOR AWARD OF
         INTERIM ATTORNEY FEES AND COSTS AS TO HIS
                       DUE PROCESS CLAIM
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  I.       Introduction

           On December 10, 2018, at the Court’s direction, Plaintiff filed a ten-page

  Brief as to Imposition of a Remedy. [Dkt. #107]           Plaintiff requested, in an

  argument of less than one page, that part of the relief should include interim

  attorney fees. Plaintiff herein files a complete Motion for Interim Fees.

           Plaintiff prevailed on Count II of his Amended Complaint, which alleges

  that Defendants denied him procedural due process by depriving him of the

  opportunity for a live hearing and cross examination before finding against him,

  forcing him to withdraw from the University, and imposing other sanctions.

  Indeed, in their Petition for Re-Hearing before the Sixth Circuit, Defendants

  admitted that based on the Sixth Circuit’s ruling in Baum, the Policy was

  unconstitutional as applied to Plaintiff. Petition for Rehearing, Sixth Cir. Case 17-

  2213, Doc. 49-1, p. 8. On January 29, 2019, University President Mark Schlissel

  publicly conceded that per Baum, “the current law” required the University to

  replace its unconstitutional Policy with a new procedure. Defendant did so on

  January 9, 2019. The Sixth Circuit’s holding in Baum both determined Plaintiff’s

  substantial rights and redefined the parties’ legal relationship. Accordingly,

  Plaintiff is entitled to an award of interim attorney fees and costs concerning this

  claim.

  II.      The Sixth Circuit Finds the University Deprived Plaintiff of Due Process


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        Defendants filed a Motion to Dismiss Plaintiff’s claims on October 26, 2016

  (Dkt. # 56), which the Court granted on January 5, 2017 (Dkt. # 74). Plaintiff

  appealed this decision to the Sixth Circuit, where it was overturned. Case No. 17-

  2213, John Doe v. David Baum, et al, originating Case No: 16-cv-13174, (6th Cir.

  2016) [Dkt. 45-2].

        The Sixth Circuit held that Defendants’ Policy violated well-established due

  process standards. The Court stated, “if a public university has to choose between

  competing narratives to resolve a case, the university must give the accused student

  or his agent an opportunity to cross-examine the accuser and adverse witnesses in

  the presence of a neutral fact-finder. Because the University of Michigan failed

  to comply with this rule, we reverse.” Doe v. Baum, 903 F.3d 575, 578 (6th Cir.

  2018) (emphasis added).

        In examining the facts of the instant case, the Sixth Circuit found that, “[t]he

  university's decision rested on a credibility determination: the Board found Doe

  responsible after concluding that Roe and her witnesses were “more credible” than

  Doe and his witnesses. Nevertheless, Doe never received an opportunity to cross-

  examine Roe or her witnesses—not before the investigator, and not before the

  Board.” Baum, 903 F.3d at 581–82. The Court reasoned that the University’s

  denial of the opportunity for a live hearing and cross examination violated well-

  established precedent holding that: (1) if a student is accused of misconduct, the


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  university must hold some sort of hearing before imposing a sanction as serious as

  expulsion or suspension, and (2) when the university's determination turns on the

  credibility of the accuser, the accused, or witnesses, that hearing must include an

  opportunity for cross-examination. Baum, 903 F.3d at 581. The Court concluded

  that in order to ensure due process requirements are met, Defendants must allow

  for some form of live questioning in front of the fact-finder. Id. at 583. Based on

  this ruling, Plaintiff prevailed on his due process claim, and is therefore entitled to

  an award of interim attorney fees and costs concerning it.

  III.   LEGAL STANDARD

         In any action to enforce a provision of 42 USC § 1983, § 1988 of that title

  permits the court to allow the prevailing party reasonable attorney fees if he

  succeeds on any significant issue in litigation which achieves some of the benefit

  he sought in bringing the lawsuit. Hensley v. Eckerhart, 461 U.S. 424, 433 (1983)

  (quoting Nadeau v. Helgemoe, 581 F.2d 275, 278-79 (1st Cir. 1978)). Indeed, the

  Supreme Court has held that a prevailing party should be awarded reasonable

  attorney fees “unless special circumstances would render such an award unjust.”

  Id. at 429 (internal citations omitted). In keeping with this sentiment, 42 USC §

  1988(b) permits a court to award interim attorney fees to a prevailing party, even

  where a final decision in the case has yet to be rendered.




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        An award of interim attorneys' fees is appropriate during the pendency of

  litigation where: “the court has entered a concrete order that ‘determines

  substantial rights of the parties,’ meaning ‘when a party has prevailed on the merits

  of at least some of his claims.’” Webster v. Sowders, 846 F.2d 1032, 1036 (6th Cir.

  1988) (citing Hanrahan v. Hampton, 446 U.S. 754, 757-58 (1980) (per curiam)

  (quoting Bradley v. Richmond Sch. Bd., 416 U.S. 696, 723 n.28, (1974))).

  “Prevailing on the merits” means succeeding on any significant issue which

  achieves some of the benefit the plaintiff sought in bringing the lawsuit; and the

  settling of some dispute affecting the defendant’s behavior toward the plaintiff.

  Hampton, 446 U.S. at 758. A “prevailing” plaintiff must obtain a “judicially

  sanctioned change in the legal relationship of the parties.” Buckhannon Bd. of Care

  Home, Inc. 532 U.S. 598, 603 (2001).

        Interim fees have been awarded in cases with disparate procedural postures,

  including after the award of preliminary injunctions (McQueary v. Conway, 614

  F.3d 591, 599 (6th Cir. 2010)) and partial summary judgment (Woods v. Willis,

  631 F. App'x 359 (6th Cir. 2015); and after the entrance of stipulated orders and

  voluntary settlements (Dorman et. al. v. Charter Township of Clinton, 2018 WL

  4358807 at *1 (E.D. Mich. Sept. 13, 2018); Maher v. Gagne, 448 U.S. 122

  (1980)). Regardless of the procedural posture of the case or the type of order

  entered, the touchstone for the award of interim fees is whether the outcome


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  materially changed the parties’ legal relationship in the plaintiff’s favor. The

  Supreme Court held in Maher that, “Nothing in the language of § 1988 conditions

  the district court’s power to award fees…on a judicial determination that the

  plaintiff’s rights have been violated.” Maher, 448 US at 129 (emphasis added).

        Regardless of what form a plaintiff’s merit-based victory takes, courts must

  conduct a contextual, case-specific inquiry to determine whether the victory

  represents an unambiguous indication of success on the merits. McQueary v.

  Conway, 614 F.3d 591, 601 (6th Cir. 2010); Webster v. Sowders, 846 F.2d 1032,

  1036 (6th Cir. 1988). In the instant case, an assessment of the practical significance

  of the relief obtained in Baum reveals Plaintiff’s success on the merits of his due

  process claim. An award of interim fees is appropriate under the circumstances.

        When deciding whether to award interim fees and costs, a court should also

  consider whether the case is complex and of long duration. Webster, 846 F.2d at

  1036; see also Hampton, 446 U.S. at 757. Plaintiff prevailed on his due process

  claim when the Sixth Circuit held that Defendants subjected him to an

  unconstitutional adjudicatory procedure after a two year legal battle. Defendants

  admitted the Policy was unconstitutional, and replaced it with an Interim Policy as

  of January 9, 2019 because of this ruling. The new Policy will apply to all students

  at the University. Plaintiff is therefore entitled to an award of interim attorney fees

  and costs.


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  IV.   ARGUMENT

        Plaintiff’s victory before the Sixth Circuit in Baum meets all the factors

  entitling him to an award of interim attorney fees and costs. Plaintiff prevailed on

  his due process claim and his case is sufficiently complex and long-standing.

        A.     Plaintiff prevailed on his due process claim.

               1.    Concrete order determining substantial rights

        The Sixth Circuit’s holding in Baum determined the substantial rights of the

  parties. The Court held that Defendants’ decision to deny Plaintiff a live hearing

  and the ability to cross-examine Complainant and witnesses violated his right to

  due process. Doe v. Baum, 903 F.3d 575, 578 (6th Cir. 2018). It cannot be said that

  Plaintiff “won the battle but lost the war,” with regard to his due process claim.

  Sole v. Wyner, 551 US 74, 86 (2007). As in Miller v. Davis, 267 F.Supp.3d 961

  (2017), where legally eligible couples received marriage licenses regardless of sex

  after the Court enjoined Kimberly Davis from continuing her “no marriage

  licenses” policy, the Sixth Circuit held that Plaintiff’s due process rights had been

  violated by Defendants’ imposition of an unconstitutional policy. Miller, 267

  F.Supp.3d at 984. Subsequently, the University retracted its unconstitutional

  Policy, in order to “comply with the law” laid down by the Sixth Circuit in Baum.

  Ex. A, Pres. Schlissel Comments. The Baum decision not only clarified what due

  process Plaintiff was entitled to, but determined that Defendants had deprived him


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  of these rights, and gave the University a roadmap to conformity with due process

  mandates.

         In the distinguishable case of Webster v. Sowders, 846 F.2d 1032, 1036 (6th

  Cir. 1988), the Sixth Circuit found that the lower court improperly awarded interim

  attorney fees after it imposed a preliminary injunction against inmates being forced

  to conduct asbestos abatement. The Court reasoned that because the lower court

  doubted whether the plaintiffs would eventually be able to prevail on their Eighth

  Amendment claim (and indeed, it appeared substantially likely that plaintiffs’

  claim would ultimately fail), the award of the injunction was a “procedural

  victory,” rather than a determination of the substantial rights underlying plaintiffs’

  claim which would have entitled them to interim relief. Webster, 846 F.2d at 1036-

  7. Webster’s bid for interim fees failed because neither the lower court nor the

  Sixth Circuit made any determination of the nature of liability, or made a final

  determination as to legal right, which supported liability. Here, the court has

  indeed made a substantive ruling entitling Plaintiff to relief on the merits of his due

  process claim. The Sixth Circuit’s holding is therefore by no means merely

  procedural. Plaintiff has prevailed on his due process claim, and is therefore

  entitled to interim relief.

                2.     The Sixth Circuit’s ruling in Doe v. Baum resulted in a
                       judicially sanctioned change in the parties’ relationship.



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        In this case, Plaintiff did more than merely bring a lawsuit or achieve a

  symbolic victory. Instead, on appeal before the Sixth Circuit, Plaintiff achieved a

  “judicially sanctioned change in the legal relationship of the parties.” Woods v.

  Willis, 631 F. App'x 359, 363–65 (6th Cir. 2015) (internal citations omitted). A

  material change in the parties’ legal relationship is one that directly benefits a

  plaintiff by modifying the defendant’s behavior towards him. McQueary v.

  Conway, 614 F.3d 591, 598 (6th Cir. 2010) (internal citations omitted). The Sixth

  Circuit materially altered the parties’ legal relationship by holding that the

  University’s sexual misconduct policy was unconstitutional. As a result, the

  University was judicially obligated to conform its adjudicatory procedure to the

  Sixth Circuit’s mandate that in cases hinging on credibility, accused students must

  be afforded a live hearing and the opportunity for cross examination. Baum

  materially altered the parties’ legal relationship.

        In Woods, 631 F. App'x at 363–65 (6th Cir. 2015), the Sixth Circuit held that

  a plaintiff who prevailed in obtaining an injunction preventing defendant from

  violating her due process rights properly obtained interim relief. Like in the instant

  case, the relief obtained in Woods extended to the manner in which those violations

  had been committed, including any potential future hearings that defendant might

  conduct regarding plaintiff. Here, Plaintiff’s relief extends not merely to further

  hearings that might be held in connection with the claim against him, but also to


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  those lodged against all students at the University of Michigan, and indeed,

  throughout the Sixth Circuit. Under the Woods Court’s reasoning, Plaintiff has

  indeed achieved a judicially-sanctioned, material alteration in the legal relationship

  between the parties. Id. at 365.

         Defendants previously cited to the distinguishable case of Sole v. Wyner, 551

  US 74 (2007) in support of their contention that Plaintiff is not entitled to interim

  fees and costs. However, Sole is so factually dissimilar from the instant case that it

  is not instructive. In Sole, plaintiff obtained a preliminary injunction, but was

  ultimately denied a permanent injunction after a dispositive adjudication on the

  merits. Sole, 551 US at 78. The Court ruled that where a claimant’s initial success

  is undone, her earlier transient victory does not entitle her to interim fees and costs.

  Id. The Court held that the eventual ruling on the merits for defendants was “of

  controlling importance” and superseded the preliminary ruling in plaintiff’s favor.

  Id. at 84. “At the end of the fray, Florida’s Bathing Suit Rule remained intact, and

  Wyner had gained no enduring change in the legal relationship between herself and

  the state officials she sued.” Id. at 86.

         The instant case is entirely distinguishable from Sole. Here, the Sixth Circuit

  unambiguously declared that Defendants’ Policy was unconstitutional. Defendants

  went on to admit that they violated Plaintiff’s right to due process when they

  denied him a live hearing and the opportunity to cross examine Claimant and other


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  witnesses before finding against him, forcing him to withdraw, and imposing other

  sanctions. Petition for Rehearing, Case 17-2213, RE 49, p. 8.

        Indeed, according to University President Mark Schlissel, Defendants have,

  as a direct result of the Sixth Circuit’s ruling in Baum, been irrevocably forced to

  remove the unconstitutional Policy and replace it with another set of procedures.

        On January 29, 2019, Schlissel issued a “letter to the community,”

  summarizing the University’s response to the Sixth Circuit’s mandate in Doe v.

  Baum, 903 F.3d 575, 578 (6th Cir. 2018), namely that the University was required

  by law to reframe its procedure to include a live hearing and cross-examination.

  Ex. A, Pres. Schlissel Comments.

            “Revised student sexual misconduct policy and procedures”
        Last semester, U-M revised its student sexual misconduct policy and
        procedures            (https://record.umich.edu/articles/student-sexual-
        misconduct-policy-include-person-hearing) based on a court ruling
        (https://record.umich.edu/articles/student-sexual-misconduct-policy-
        include-person-hearing) by the U.S. Sixth Circuit Court of Appeals.
        The court ruled that a public university must give an accused student
        an in-person hearing when credibility is at issue in sexual misconduct
        cases and provide the opportunity for the accused student or their
        adviser to cross-examine the accuser and witnesses.”

        Defendants have unquestionably conceded that Plaintiff prevailed on the

  merits of his due process claim, and admitted that they took involuntary corrective

  action at the behest of the Sixth Circuit. The ruling in Baum demonstrably altered

  the parties’ relationship in Plaintiff’s favor. He is therefore entitled to interim fees

  and costs concerning his due process claim.
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        The question of whether interim relief is appropriate hinges very simply on

  whether the plaintiff won on at least one claim. Woods, 631 F. App'x at at 364

  (internal citations omitted). “A plaintiff crosses the threshold to ‘prevailing party’

  status by succeeding on a single claim, even if he loses on several others and even

  if that limited success does not grant him the ‘primary relief’ he sought.” Miller,

  267 F.Supp.3d at 979 (internal citations omitted). Plaintiff won on his due process

  claim—the Sixth Circuit unambiguously held that the Policy Defendants applied to

  Plaintiff violated his constitutional right to due process. Accordingly, this cannot

  be characterized as a de minimis or purely “technical victory” insufficient to

  support prevailing party status. Tex. State Teachers Ass'n, 489 U.S. at 792, 109

  S.Ct. 1486.

        Defendants previously cited to the distinguishable case of Radvansky v. City

  of Olmstead Falls in support of their unpersuasive argument that Plaintiff is not

  entitled to interim attorney fees and costs. In that case, the Sixth Circuit found that

  plaintiff was not entitled to an award of interim fees because while he obtained a

  reversal of summary judgment because there was a material issue of fact that was

  a jury question he later lost on the facts before a jury. Radvansky v. City of

  Olmstead Falls, 496 F.3d 609, 619-20. There was no win on a constitutional issue

  of law, as there is here. Rather, the reversal of summary judgment was a mere

  procedural victory that served as a waystation to his utter substantive defeat.


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  Radvansky, 496 F.3d at 620. Here no matter what happens going forward, Plaintiff

  has achieved a complete victory on the issue that his constitutional rights were

  violated as a matter of law, that the findings against him must be reversed, and if

  re-heard, a new policy and procedure providing a hearing and cross-exam will

  apply.

           The instant case is instead akin to Dorman et. al. v. Charter Township of

  Clinton, 2018 WL 4358807 at *1 (E.D. Mich. Sept. 13, 2018). In that case,

  plaintiffs sued when they were prohibited from using “the Laurel Property” as a

  church. More than two years later, defendant agreed to permit plaintiffs to use the

  Laurel Property as a church. Accordingly, the parties submitted and the Court

  entered a “Stipulated Order Granting Plaintiffs Land Use Approval.” Dorman,

  2018 WL 4358807, at *1. Plaintiffs were entitled to interim fees and costs because

  they prevailed on an important matter in the case—their ability to use the Laurel

  Property as a church. Id. at *2.

           B.    The complexity and duration of Plaintiff’s case also favor an
                 award of interim fees.

           The Supreme Court has held that, in complex cases of long duration,

  delaying a fee award until the conclusion of litigation would work substantial

  hardship on plaintiffs and their counsel, and discourage the institution of actions

  that Congress intended to encourage by the passage of attorney fee

  statutes. Bradley, 416 U.S. at 723; see also Webster, 846 F.2d at 1036.
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  Accordingly, this Court should also consider these factors, which support an award

  of interim costs and fees in the instant case.

        As in Dorman, 2018 WL 4358807 at *1 (E.D. Mich. Sept. 13, 2018), the

  complexity and duration of Plaintiff’s case also favor an award of interim fees.

  This case undisputedly raised challenging and important due process issues that

  have been identified and explored before the Sixth Circuit Court of Appeals.

  Furthermore, the two-and-a-half year long duration of this case has required

  Plaintiff to expend considerable amounts of his own personal resources in legal

  fees in his efforts to obtain relief from Defendants’ admitted constitutional

  violations.

  V.    PLAINTIFF’S REASONABLE ATTORNEY FEES AND COSTS

        A “reasonable” fee is one that is sufficient to induce a capable attorney to

  undertake the representation of a meritorious civil rights case. Perdue v. Kenny A.

  ex rel. Winn, 559 U.S. 542, 552 (2010). In making this determination, the Court

  should apply the lodestar method. Perdue, 559 U.S. at 552.

        A.      Plaintiff’s Lodestar Amount

        First, the Court should multiply the number of hours reasonably expended

  on the case by a reasonable hourly rate. Barnes v. City of Cincinnati, 401 F.3d 729,

  745 (6th Cir. 2005). Typically, where cases have been ongoing for a number of

  years, the Court applies the current or prevailing market rate. Barnes, 401 F.3d at


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  745. The prevailing market rate is the rate that lawyers of comparable skill and

  experience can reasonably expect to command within the venue of the court of

  record. Ne. Ohio Coal. For the Homeless v. Hustead, 831 F.3d 686, 715 (6th Cir.

  2016)(citing Geier v. Sundquist, 372 F.3d 784, 791 (6th Cir. 2004)). Accordingly, a

  court may look to a party’s submissions, awards in analogous cases, state bar

  association guidelines, and its own knowledge and experience in handling similar

  fee requests. Hustead, 831 F.3d at 715. It is the burden of the party seeking

  attorney fees to adequately document and submit evidence supporting the hours

  worked. Hensley v. Eckerhart, 461 U.S. 424, 433 (1983).

        In determining the reasonableness of the fee charged and the hours incurred,

  the Court is to consider the following factors: (1) the time and labor required; (2)

  the novelty and difficulty of the questions; (3) the skill requisite to perform the

  legal service properly; (4) the preclusion of other employment by the attorney due

  to acceptance of the case; (5) the customary fee; (6) whether the fee is fixed or

  contingent; (7) time limitations imposed by the client or the circumstances; (8) the

  amount involved and the results obtained; (9) the experience, reputation and ability

  of the attorneys; (10) the “undesirability” of the case; (11) the nature and length of

  the professional relationship with the client; and (12) awards in similar cases.

  Hamlin v. Charter Township of Flint, 165 F.3d 426 (6th Cir. 1999), citing Hensley,

  461 U.S. 424, 430 n.3; Geier v. Sundquist, 372 F.3d 784, 792 (6th Cir.2004)


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  (quoting Hensley, 461 U.S. at 434 n. 9 and noting factors are subsumed in

  lodestar).

        Plaintiff’s attorneys’ verified time records are attached as Exhibit B. The

  following factors demonstrate the reasonableness of these fees.

        (1) The professional standing and experience of the attorney(s)

        In order to determine whether the hourly rates claimed are reasonable, the

  court looks to “rates prevailing in the community for similar services by lawyers of

  reasonably comparable skill, experience and reputation.” Blum v. Stenson, 465

  U.S. 886, 896, n. 11 (1984). An analysis of these factors and Ms. Gordon’s

  background shows that her hourly fee of $550 is entirely reasonable. Ms. Gordon

  has been a practicing trial attorney for 42 years, specializing throughout that time

  in employment discrimination and civil rights violations. Exhibit D, Gordon C.V.

  She previously worked as an Assistant Attorney General, Civil Rights and Civil

  Liberties Division, for the State of Michigan, and as a trial attorney for the Equal

  Employment Opportunity Commission. She has been in private practice since

  1980. She has been a member and officer of numerous professional organizations.

  She also has frequently lectured on employment and trial topics, and has

  contributed to a number of books in these areas.

        Ms. Gordon has been listed in The Best Lawyers in America, Woodward

  and White, 1987-2019, as one of the top lawyers in Michigan; and was listed in


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  Michigan Super Lawyers as one of the top 10 attorneys in Michigan. The firm of

  Deborah Gordon Law was listed among the “Best Law Firms” of 2016 by U.S.

  News and World Reports. She has tried approximately 25 employment or civil

  rights cases to verdict, and has obtained several multi-million dollar verdicts.

  Gordon has been a cooperating, pro bono attorney for the ACLU of Michigan in

  several important civil rights cases, including Sitz v. Michigan State Police, 443

  Mich. 744 (1993), which resulted in the prohibition of drunk driving road blocks

  in the State of Michigan. Many of Gordon’s cases have received media attention,

  some national, because of their importance to the public interest.

        Over a decade ago, Judge Paul Borman recognized in Shuster v. Daimler

  Chrysler Corp., 01-70443 that Deborah Gordon was both “experienced and

  regarded counsel in this field.” Ex. E. The next year, Judge Steeh also recognized

  Ms. Gordon as “an experienced and highly regarded counsel in the field,” and he

  approved a rate then above the 95th percentile of other local practitioners. Ex. F. In

  2009, Judge Battani awarded Gordon $400/hour. Exhibit G. In 2012, Judge Barry

  Howard awarded Gordon $450 per hour. Exhibit H. In 2017, Judge Hood awarded

  Gordon $500 per hour. Ex. I.

        In 2011, Judges of this District recognized that $550 an hour is “comparable

  to the rates charged by the most experienced and accomplished attorneys in the

  Detroit metropolitan area.” Flagg v. City of Detroit, 2011 WL 6131073 (E.D.


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  Mich. 2011). As Ms. Gordon is recognized in that top-most echelon of

  practitioners in this area, she requests a fee of $550 per hour.

        Plaintiff also claims $350 an hour for the work performed by Irina

  Vaynerman, an associate attorney at Deborah Gordon Law. Ms. Vaynerman, a

  graduate of Harvard University and Yale Law School joined Deborah Gordon Law

  in 2016, after clerking for the Hon. Susan Richard Nelson of the District of

  Minnesota, and the Hon. Diana E. Murphy of the U.S. Court of Appeals for the

  Eighth Circuit. Ms. Vaynerman has co-authored works covering discrimination and

  civil rights, and interned for the Michigan Marriage Equality Litigation

  organization, Gay & Lesbian Advocates & Defenders (GLAD), the NAACP Legal

  and Education Defense Fund, and the Department of Justice’s Civil Rights

  Division. Ms. Vaynerman left the firm of Deborah Gordon Law in 2018, and

  presently serves as the Deputy Commissioner for Minnesota’s Department of

  Human Rights. Ex. J, Vaynerman C.V.

        Plaintiff further claims $350 an hour for the services of Ann Arbor attorney

  Douglas Mullkoff. Mullkoff’s distinguished career as a one of the Michigan’s most

  prominent defense attorneys spans over thirty years. He has received many awards

  and distinctions throughout this time, and currently holds the highest available AV

  rating by the national Martindale-Hubbell Law Directory. Mullkoff was retained to




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  assist    with   Plaintiff’s   participation    in   the    University’s     unconstitutional

  investigatory and appeals process. Ex. K, Mullkoff Fees.

           The rates claimed by Plaintiff are also consistent with the State Bar of

  Michigan Survey on the Economics of Law Practice, Ex. L, 2017 State Bar Econ.

  of Law Practice at 4, 6, which analyzes billing rates as follows:

  By Field of Practice
                                            Mean             95th Percentile
  Labor & Employment Law                    $301             $550
  Personal Injury (Pltf)                    $362             $600
  Other Civil Law                           $272             $552

  By Years in Practice
                                            Mean             95th Percentile
  Greater than 35 years of practice         $284             $510

           (2) Skill, time, and labor involved

           The time and labor involved in obtaining the Sixth Circuit’s decision in

  Baum were immense. Plaintiff was forced to file a complex and detailed motion for

  a temporary restraining order, respond to a motion to dismiss, and file motions

  proceed under pseudonym, oppose the stay of discovery on immunity grounds, and

  for reconsideration. These pleadings applied multifaceted and nuanced legal

  frameworks to a complex fact pattern that evolved over the course of years.

  Ultimately, Plaintiff’s counsel had to brief and argue Plaintiff’s defense against

  Defendants’ motion to dismiss before the Sixth Circuit.




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        Plaintiff’s lead counsel, Deborah Gordon, devoted her time and energy

  almost exclusively to this case in the weeks preceding her dispositive oral and

  written arguments before the U.S. District Court and Court of Appeals. While

  Defendants were represented by two large corporate law firms, by contrast,

  Deborah Gordon argued her case before the U.S. District Court and Sixth Circuit

  Court of Appeals alone.

        Verified time records for Deborah Gordon Law are attached, Exhibit B. All

  time expended was reasonable and necessary to the processing of this case. Id. In

  fact, the hours expended by Deborah Gordon Law in this matter are understated.

  As set forth in that verification, the actual hours expended by the firm are

  significantly higher than those documented in the attached time sheets, as

  Plaintiff’s counsel spent countless additional hours, not tracked by the firm, in

  phone calls with the client, discussions between counsel about the case, etc.

        (3) The amount in question and the results achieved

        When the Court is assessing attorney fees, “the most crucial factor is the

  degree of success attained.” Hensley, 461 U.S. at 436. Although district courts

  have discretion in determining the proper award, they must “consider the

  relationship between the extent of success and the amount of the fee award.” Id. at

  438. The “significance of the overall relief obtained by the plaintiff” influences the

  reasonableness of the time expended on the litigation. Id. at 435. As set forth


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  above, Plaintiff obtained an excellent result on his due process claim, namely, a

  finding that Defendants violated his constitutional right to due process, and a Sixth

  Circuit holding compelling Defendants and other institutions in the Sixth Circuit to

  implement procedures to adjudicate claims of sexual misconduct that provide a

  hearing and cross-examination.

        (4) The difficulty of the case

        This case was difficult given that it involved a complicated set of facts,

  scores of witnesses and other concerned individuals, and a convoluted, multi-phase

  university adjudicatory process. The dispositive issues in this case also hinged on

  nuanced aspects of constitutional and statutory law. As set forth above, Plaintiff

  was forced to file a complex and detailed motion for a temporary restraining order,

  respond to Defendant’s motion to dismiss, and move the Court to proceed under

  pseudonym, oppose the stay of discovery on immunity grounds, and for

  reconsideration. Ultimately, Plaintiff’s counsel had to brief and argue Plaintiff’s

  defense against Defendants’ motion to dismiss before the Sixth Circuit, which

  involved numerous hours of research and preparation. While Defendants brought

  the full force of their financial resources to bear on this case, and eventually hired

  two large corporate defense firms, Plaintiff’s two attorneys—Gordon and

  Vaynerman shouldered this demanding case load by themselves. The difficulty of

  this case also weighs in favor of a fully compensatory award.


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        (5) The undesirability of the case

        Plaintiff’s counsel’s office took a substantial risk in accepting this case,

  given the deference typically afforded academic institutions in dismissal decisions,

  the dearth of case law involving a withdrawn student successfully challenging the

  circumstances leading up to his separation from the university, and the sheer optics

  of defending the innocence and procedural rights of someone accused of sexual

  assault in the “Me Too” era. In the end, Plaintiff’s attorneys took his case based on

  a firm conviction that his ouster from the university had been a travesty that cried

  out for legal redress. Plaintiff’s office submits that, given the current political

  climate, few firms are willing to take on the risk and expense of pursuing student

  dismissal cases involving allegations of sexual assault, given the significant

  hurdles that must be overcome, and the attendant risks and expense of pursuing

  this type of claim.

        (6) The expenses incurred

        As Plaintiff’s Verified Costs Itemization reveals, Plaintiff invested over

  $9,986.23 in costs in this matter to lodge and defend his due process claim.

  Plaintiff seeks recompense for all attorney fees and costs associated with this

  substantial investment.

        (7) The nature and length of the professional relationship with the client




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        Plaintiff and Plaintiff’s counsel have had an attorney-client relationship for

  over two years. A fee agreement exists providing for a fee contingent upon a

  successful outcome of the litigation, but the many hours Ms. Gordon logged prior

  to the filing of the original complaint were conducted on the basis of an hourly fee.

  The Hamlin and Wood factors favor the award of attorney fees to Plaintiff in this

  matter. Plaintiff unquestionably obtained a very good result at trial. Plaintiff also

  relies on the Court’s own evaluation as to Plaintiff’s counsel’s skill, the time and

  labor involved in this case, and the results obtained.

        B.     Adjustments to Plaintiff’s Lodestar Amount

        Second, the lodestar amount may be adjusted up or down to “reflect relevant

  considerations peculiar to the subject litigation. Adcock-Ladd v. Sec’y of Treasury,

  227 F.3d 343, 349 (6th Cir. 2000). However, there is a “strong presumption”

  favoring the prevailing attorney’s entitlement to her lodestar fee. Adcock-Ladd,

  227 F.3d at 349. Accordingly, modifications to the lodestar are only proper in

  “rare” and “exceptional” circumstances supported by both “specific evidence on

  the record and detailed findings.” Id. (internal citations omitted).

        Because at this time Plaintiff seeks interim fees relative to his meritorious

  due process claim alone, it is not appropriate to adjust the fee award downward for

  claims whose merits have yet to be decided. The Court should award the fees that

  are reasonable in relation to the results obtained. Hensley, 461 U.S. at 434. In this


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  case, although claims remain outstanding against Defendants, Plaintiff has

  achieved a level of success that makes the hours reasonably expended a

  satisfactory basis for making a fee award. Id. at 440.

        Here, Plaintiff obtained “excellent” results. Id. at 435. Plaintiff sought the

  exact result he obtained in Baum: a holding that Defendants’ policy was

  unconstitutional, and that his due process rights had been violated. Not only did

  Plaintiff achieve these results for himself, but Baum’s mandate now applies to all

  public universities in the Sixth Circuit. Because of the relief Plaintiff obtained,

  policies governing the adjudication of sexual misconduct complaints, Defendants’

  included, are now changing all over the Circuit. Considering the relief Plaintiff

  obtained, a fully compensatory attorney fee award is warranted.

        These results render it appropriate for a fee enhancement of at least 10%.

  Fee enhancements have been deemed appropriate to reflect the risk of

  underpayment or nonpayment assumed in taking a case on a contingency basis, and

  as necessary to attract counsel to take on discrimination cases. See Palmer v.

  Shultz, 679 F.Supp. 68 (D.D.C.1988) (awarding 50% enhancement).

        In Northcross v. Board of Education of Memphis City Schools, 611 F.2d 624

  (6th Cir. 1979), cert denied, 447 U.S. 911, 100 S.Ct. 3000, 64 L.Ed.2d 862(1980),

  the court explained the rationale of fee enhancements in civil rights cases:

        “An attorney’s regular hourly billing is based upon an expectation of
        payment, win, lose or draw. If her or she will only be paid in the event of
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        victory, those rates will be adjusted upward to compensate for the risk the
        attorney is accepting of not being paid at all .... The contingency factor is not
        a ‘bonus’ but is part of the reasonable compensation in which a prevailing
        party’s attorney is entitled [under the civil rights statute].” Id. at 638.

        See also Conklin v. Lively, 834 F.2d 543, 553 (6th Cir. 1987) (attorneys’ fee

  award may be enhanced to reflect the contingent nature upon which the case was

  taken; district court to make specific factual findings in support of its decision to

  enhance a fee based on the contingency factor).

        In this case, Plaintiff’s counsel took a risk in accepting this case. Plaintiff’s

  goal was to obtain a finding that Defendants violated his due process rights in

  reversing the OIE’s conclusion that he was not responsible for the alleged sexual

  assault of Claimant, and in forcing him to withdraw from the University without

  the opportunity for a live hearing or cross-examination of witnesses. Given the

  attendant circumstances, the prospect of Plaintiff’s counsel receiving her

  contingent fee in this case was uncertain. Accordingly, this is a case where a fee

  enhancement is appropriate to attract counsel in similar cases with similar risks

  and/or money damages that initially appear questionable or unlikely. Id.

  VI.   CONCLUSION

        WHEREFORE, Plaintiff requests that this Honorable Court enter an Order

  holding that Plaintiff is a prevailing party for the purposes of obtaining an interim

  fee award, and accordingly that Plaintiff is entitled to a fully compensatory award

  of interim attorney fees and costs including:
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        D. Attorney fees (Deborah Gordon Law) in the amount of $326,824.50. Ex. B.

        E. Costs (Deborah Gordon Law) in the amount of $9,986.23. Ex. C.

        F. An attorney fee enhancement of at least 10% due to the nature of this
           case and the relief Plaintiff has obtained.

        Plaintiff further requests oral argument regarding the relief requested in the

  instant Motion and brief.


                                         Respectfully submitted,
                                         DEBORAH GORDON LAW
                                         /s/Deborah L. Gordon (P27058)
                                         Attorney for Plaintiff
                                         33 Bloomfield Hills Parkway, Suite 220
                                         Bloomfield Hills, Michigan 48304
  Dated: March 26, 2019                  (248) 258-2500


                              CERTIFICATE OF SERVICE

         I hereby certify that on March 26, 2019, I electronically filed the foregoing
  document with the Clerk of the Court using the ECF system, which will send
  notification of such filing and service of said documents to all parties through their
  counsel of record.
                                          DEBORAH GORDON LAW
                                          /s/Deborah L. Gordon (P27058)
                                          Attorney for Plaintiff
                                          33 Bloomfield Hills Parkway, Suite 220
                                          Bloomfield Hills, Michigan 48304
                                          (248) 258-2500




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